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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


ESPINOZA ESCALONA, et al.,

Plaintiffs–Petitioners,
                                                            Case No: 1:25-cv-00604
                             v.

NOEM, Secretary of the U.S. Department of Homeland
Security, in her official capacity, et al.,

Defendants–Respondents.


                                   INDEX OF EXHIBITS
                           PLAINTIFFS-PETITIONERS’ MOTION FOR
                             EMERGENCY STAY OF TRANSFERS

 1.       Declaration of Maiker Alejandro Espinoza Escalona

 2.       Declaration of Jackson Manuel Villa Wilhelm

 3.       Declaration of Jorge Alberto Castillo Cerrano

 4.       Declaration of Janfrank Berrios Laguna

 5.       Declaration of Alejandro Jose Pulido Castellano

 6.       Declaration of Josue de Jesus Torcati Sebrian

 7.       Declaration of Walter Estiver Salazar

 8.       Declaration of Hijran Malik

 9.       Declaration of Ghulam Muhammad

 10.      Declaration of MD Rayhan

 11.      Declaration of Deborah Fleischaker

 12.      Declaration of Jennifer Babaie, Las Americas Immigrant Advocacy Center

 13.      Declaration of Luis Alberto Castillo Rivera


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14.   Declaration of Jonathan Alejandro Alviares Armas

15.   Declaration of Jose Daniel Simancas Rodriguez

16.   Declaration of Raul David Garcia

17.   Declaration of Yoiker David Sequera

18.   Declaration of Jeferson Escalona

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